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17   Attorneys for Plaintiffs and the Proposed Classes
18                                UNITED STATES DISTRICT COURT
19                               NORTHERN DISTRICT OF CALIFORNIA
20                                       OAKLAND DIVISION
21   STACIA STINER, et al., on behalf of                 Case No. 4:17-cv-03962-HSG (LB)
     themselves and all others similarly situated,
22
                   Plaintiffs,                           DECLARATION OF CRISTINA
23
     vs.                                                 FLORES, PHD IN SUPPORT OF
24                                                       PLAINTIFFS’ MOTION FOR CLASS
     BROOKDALE SENIOR LIVING, INC.;                      CERTIFICATION
25   BROOKDALE SENIOR LIVING
     COMMUNITIES, INC.; et al.,
26                                                       Date:    May 26, 2022
                   Defendants.                           Time:    2:00 p.m.
27                                                       Place:   Courtroom 2
                                                         Judge    Hon. Haywood S. Gilliam, Jr.
28
                                               REDACTED
                                                                  Case No. 4:17-cv-03962-HSG (LB)
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 1                       DECLARATION OF CRISTINA FLORES
 2        1.     I, Cristina Flores, Ph.D., R.N., declare as follows:
 3        2.     I am familiar with the matters stated in this declaration. Unless
 4 otherwise stated, the matters contained herein are based upon my personal
 5 knowledge, which is derived from a review of the materials identified within this
 6 declaration and my education, experience, and training discussed below. If called
 7 and sworn as a witness, I can and will testify competently thereto.
 8        3.     This declaration contains 16 sections. A list of these sections and the
 9 corresponding pages number are set forth in the Table of Contents that follows.
10        I.     Introduction ........................................................................ 2
11        II.    Qualifications....................................................................... 4
12        III.   Brookdale’s California Facilities Are Required to Provide. 7
13               Sufficient Numbers of Staff to Meet the Needs of Residents
14        IV.    Does a Reliable and Generally-Accepted Methodology ..... 8
15               Exist That Can Mathematically Determine the Minimal
16               Amount of Staffing Hours Required By Residents in RCFEs?
17        V.     Overview: The Basis for Findings and Opinions ............... 9
18        VI.    Brookdale Policy and Practice Documents ....................... 10
19        VII. Brookdale Deposition Testimony ...................................... 11
20        VIII. Brookdale Facility-Specific Data ...................................... 12
21        IX.    Summaries of Voluminous Facility-Specific Raw Data.... 15
22               for Brookdale’s California Facilities
23        X.     Simple Math Analysis of Six Brookdale Facilities ........... 19
24        XI.    Brookdale Simple Math Results and Opinions.................. 31
25        XII. Ultra-Conservative Nature of Brookdale Simple Math ..... 33
26               Analysis
27        XIII. Is Brookdale’s Staffing Methodology Defective? ............. 36
28

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 1           XIV. Were Residents of Brookdale’s California Facilities ........ 40
 2                  Impaired and Vulnerable?
 3           XV. To What Extent Did Residents of Brookdale’s ................. 40
 4                  California Facilities (Not Subject to Arbitration Agreements)
 5                  Have Disabilities?
 6           XVI. Do Deficiencies Issued by the California .......................... 46
 7                  Department of Social Services' Community Care Licensing
 8                  (CCL) Division Provide Findings Relevant to the Staffing of
 9                  Brookdale's California Facilities?
10                                       I.      Introduction
11           4.     I was engaged in this case1 to review: (1) Brookdale’s staffing
12 methodology, (2) its task time standards/norms used within its staffing methodology
13 (including time studies), (3) the care needs documented by Brookdale in residents’
14 assessments, (4) the amount of staff time required to deliver these care services, and
15 (5) the amount and number of staff at Brookdale available to provide these care
16 services to residents.
17           5.     More specifically, I was asked to answer the following questions:
18                  a.     Does a reliable and generally-accepted methodology exist that
19           can mathematically determine the minimal amount of staffing hours required
20           to provide care services needed by residents in assisted living
21           facilities/RCFEs?
22                  b.     Does the data and information described below provide a
23           sufficient basis to apply that methodology and form an opinion, based on a
24
     1
     It is my understanding that Plaintiffs are asserting claims with respect to staffing
25
   and related issues concerning 90 Residential Care Facilities for the Elderly
26 ("RCFE") facilities (see Brookdale’s Supplemental Responses to Plaintiff Helen
   Carlson’s Interrogatories, Response to RFP #1) owned, operated, or managed by
27
   Brookdale Senior Living, Inc. and Brookdale Senior Living Communities, Inc.
28 during all or part of the class period (May 16, 2015 to present), collectively referred
   to as "Brookdale" or "Brookdale’s California facilities."
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 1           reasonable degree of nursing certainty, about (1) the amount of staff time
 2           required to deliver the care services documented by Brookdale in resident
 3           assessments and (2) the sufficiency of the actual numbers of staff and
 4           available staff time to meet the documented care needs of residents?
 5                  c.     How much staff time was required to provide Brookdale
 6           residents assistance with needed basic activities of daily living (ADLs), as
 7           documented       by   Brookdale    in    its   resident   assessments,   including
 8           escorting/mobility, assistance to bathroom, grooming, dressing, and
 9           eating/dining?
10                  d.     How much staff time was required to provide Brookdale
11           residents assistance with other care services documented in resident
12           assessments, including medication management, dementia and/or behavioral
13           management, and other support services?
14                  e.     Was it mathematically and realistically possible for Brookdale
15           staff to provide the care services required by residents based on their
16           assessments and the amount of staffing hours allotted by Brookdale to
17           provide these services?
18                  f.     If there was a staffing shortfall, what was the gap between the
19           amount of care time required2 per day versus the amount of time actually
20           available per day to staff to deliver care?
21                  g.     Does Brookdale’s staffing methodology provide sufficient
22           staffing to meet the needs of residents as documented in their assessments?
23                  h.     Does    Brookdale’s       staffing   methodology     (policies    and
24           procedures) ensure that its staffing is based on and adjusted to the number of
25           residents and the care they need, as required by California law (22 CCR §
26           87411)?
27
     2
28
      When used in this declaration, “required” refers to those services that Brookdale
     documented in its assessments as being needed by residents.
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 1                  i.     Did Brookdale’s staffing methodology (policies and procedures)
 2           place residents at substantial and routine risk for understaffing and of not
 3           receiving services that they required?
 4                  j.     Are the residents at Brookdale’s California facilities elderly and
 5           physically and/or mentally impaired?
 6                  k.     To what extent did residents of Brookdale’s California facilities
 7           who did not enter into arbitration agreements have disabilities?
 8                  l.     Do deficiencies issued by the California Department of Social
 9           Services' Community Care Licensing (CCL) Division provide findings
10           relevant to the staffing of Brookdale's California Facilities?
11           6.     This declaration describes my analysis undertaken to date based on the
12 documents and information presently available in connection with the above-
13 referenced lawsuit asserted against Brookdale.
14                                      II.    Qualifications
15           7.     Educational Background: I am a licensed Registered Nurse in the
16 State of California. I have been a Registered Nurse for 32 years. In 1996, I received
17 my Bachelor of Sciences in Nursing from California State Dominguez Hills,
18 California. In 2003, I received my Masters in Gerontology--Long Term Care

19 Administration from San Francisco State University, California, and in 2007, I
20 received my Ph.D. in Nursing Health Policy from University of California, San
21 Francisco. My education has focused on nursing and gerontology, specifically with
22 respect to the care of individuals in Residential Care Facilities for the Elderly
23 (“RCFE”) which are also commonly called assisted living facilities (ALF) and
24 memory care facilities.3
25           8.     Assisted Living Experience: Between 1993 and 1996, as a clinical
26 nurse case manager with UCSF – Mount Zion, Home Care, I worked inside of a
27
     3
         See my curriculum vitae that sets forth my qualifications, FLORES0001, and my
28 prior deposition and trial testimony, FLORES0002.

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 1 number of RCFEs (assisted living facilities) in California where I was responsible
 2 for resident assessments, evaluations, care management, skilled nursing care,
 3 treatments, and staff and patient education.
 4        9.     Since 1996, I have been certified as an RCFE Administrator in
 5 California. For over 23 years, I owned and operated three 6-bed RCFEs. During
 6 this 23-year period, the elderly individuals residing at my facilities were
 7 comparable to the residents of Brookdale’s Assisted Living (AL) or Memory Care
 8 (MC) units, with similar ages, diagnostic profiles, acuity, and care services needed.
 9        10.    Additionally, from 2012 to 2014, I served as Chief Programing Officer
10 and the Chief Operating Officer for the AgeSong chain which owned and operated
11 4 assisted living facilities, ranging in size from 50 to 100 beds. My responsibilities

12 included all aspects of the operations of these facilities.
13        11.    Knowledge of Assisted Living Regulations: As a Certified RCFE
14 Administrator, I am aware of the regulations that govern RCFEs (assisted living
15 facilities) in California and the standard of care recognized by assisted living/RCFE
16 licensees and administrators. The same regulations and standards apply to all
17 licensed RCFE facilities (including the Brookdale assisted living facilities that are
18 the subject of this declaration). All RCFEs in California are required to comply with

19 the regulations and standards prescribed by California Health and Safety Code
20 (HSC) section 1569, and by Title 22 of the California Code of Regulations (22 Cal.
21 Code Reg.), Division 6, Chapter 8. I am very familiar with these regulations and the
22 standards they establish.
23        12.    Teaching Experience: Since 2003, I have been the Long-Term Care
24 Administration Coordinator at San Francisco State University. From 2001 to 2017, I
25 was responsible for teaching the Assisted Living/RCFE Administrator certification
26 courses that are required for every administrator of an RCFE in California as part of
27 the licensure process. I am also a vendor approved by the State of California to
28 teach continuing education classes regarding RCFE and nursing subjects.

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 1 Additionally, since 2007, I have been an Assistant Adjunct Professor at the
 2 University of California, San Francisco, in the Department of Social and Behavioral
 3 Sciences, School of Nursing.
 4        13.    Grant-Supported Assisted Living Research: As a result of my work
 5 in the assisted living field, I have been provided numerous research grants to study
 6 assisted living facilities in California. My research includes the study of 340
 7 assisted living facilities in California supported by grants from the California Health
 8 Care Foundation and the Agency for Healthcare Research and Quality.
 9        14.    I have extensive education and experience regarding:
10               a.     The operations of assisted living facilities,
11               b.     The types of resident services provided in assisted living and
12        long-term care facilities,
13               c.     How these services are properly provided,
14               d.     Measuring the amount of time required to provide care and
15        services (time and motion studies),
16               e.     The amount of time required to provide these services to
17        residents,
18               f.     Determining the amount of staff needed to deliver care and
19        services to residents,
20               g.     The process of assessing the care and service needs of residents,
21               h.     How assessments, care and services are documented,
22               i.     Teaching and training staff how to provide resident care and
23        services,
24               j.     The laws and regulations applicable to assisted living
25        facilities/RCFEs,
26               k.     Managing staff’s delivery of care and services,
27               l.     Scheduling staff,
28               m.     Prioritizing staff workflow,

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 1                 n.     How much care time that staff actually have on each shift—how
 2           breaks and non-service-related tasks that staff members in assisted living
 3           facilities are required to perform each shift impact available care time, and
 4                 o.     The amount of time required to perform these non-service-
 5           related tasks.
 6           15.   Based on my education, training and experience, I am qualified to
 7 render an opinion and answer the questions set forth above.
 8           16.   Further, by reason of my education and experience, I am qualified to
 9 render an opinion regarding the consequences to the health, safety, and welfare of
10 elderly residents caused by the repeated failures of an assisted living facility to
11 provide sufficient staff to deliver needed care and services.

12    III.     Brookdale’s California Facilities Are Required to Provide Sufficient
13
                    Numbers of Staff to Meet the Needs of Residents

14           17.   In California, Residential Care Facilities for the Elderly (RCFEs) such
15 as the ones operated by Brookdale in this case are governed by Title 22, Division 6,
16 Chapter 8 of the California Code of Regulations, starting at 22 CCR § 80000, et
17 seq. Article 7 of that Chapter discusses the personnel requirements of California
18 law. Specifically, 22 CCR § § 87411 requires that “Facility personnel shall at all

19 times be sufficient in numbers, and competent to provide the services necessary to
20 meet resident needs.” For each of their residents, RCFEs are required to prepare a
21 written record of their care needs. 22 CCR §§ 87467. The care needs and service
22 assessment       required includes an evaluation of each resident’s functional
23 capabilities, mental condition, and an evaluation of specified social factors. 22 CCR
24 § 87457. Further, all RCFEs are required to keep each resident’s needs and service
25 assessment accurate throughout their residency and to update it in writing as
26 frequently as necessary to note significant changes. 22 CCR § 87463. These
27 regulations applied to Brookdale and its California facilities.
28

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 1         18.    In order to ensure that its facilities have enough staff to meet the needs
 2 of the residents, Brookdale must employ a reasonable method to determine the staff
 3 time required to provide promised care services to its residents. It is widely-known
 4 in the field of assisted living and long-term care that a failure to correctly determine
 5 and set staffing levels can place residents at a substantial risk for not receiving
 6 needed care. When the labor time required is greater than the labor time available,
 7 care is delayed or omitted. Because there is, in fact, a limit to how much work a
 8 staff member can perform in a set timeframe, ensuring that there are sufficient
 9 numbers of staff on duty to deliver all care services required by frail, elderly, and/or
10 disabled residents is critical to meeting the care needs of these residents and for the
11 proper and safe operation of RCFEs in California.

12          IV. Does a Reliable and Generally-Accepted Methodology Exist
13
                      That Can Mathematically Determine the
         Minimal Amount of Staffing Hours Required By Residents in RCFEs?
14
           19.    Two separate and independent methodologies can mathematically
15
     determine the minimal amount of staffing hours required to deliver the care needed
16
     by residents in RCFEs. These 2 methodologies (described below) are generally-
17
     accepted and used by the assisted living industry and industrial engineers to
18
     quantitatively measure the amount of staff required to deliver needed care:
19
                  a.     Simple Math Analysis: This methodology mathematically
20
           calculates the labor time required each day to deliver all required line-item
21
           services to residents and compares this to the actual labor time available each
22
           day, and/or
23
                  b.     Discrete Event Simulation (DES) Testing and Failure Analysis:
24
           This methodology uses industrial engineering technology and computer
25
           software to model and compute the labor time required and the most work
26
           that labor force can possibly deliver based on the actual labor time available
27
           each day.
28

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 1         20.    While both methodologies quantitatively determine if Brookdale
 2 workers had enough labor time to deliver required care services to residents, the
 3 second methodology—industrial engineering DES testing and failure analysis—
 4 provides a much more accurate and scientifically-robust analysis of required
 5 staffing hours.
 6         21.    The first methodology—simple math analysis—provides a quick way
 7 to initially measure if staffing levels are minimally sufficient to meet the care needs
 8 of residents. This approach (which is applied to 6 Brookdale facilities and
 9 illustrated herein) provides a blunt and ultra-conservative measure of the capacity of
10 Brookdale’s staff to meet resident care needs. The second methodology—industrial
11 engineering DES testing and failure analysis—takes into account many time-

12 consuming staff activities (discussed below) that are not accounted for in the simple
13 math analysis. Accordingly, the simple math analysis is an approach that: (a)
14 provides an extremely conservative measurement of required staffing hours; and (b)
15 can be applied to initially test and quantify the amount of staffing shortfall, if any,
16 occurring in each of Brookdale's California facilities.
17                 V.     Overview: The Basis for Findings and Opinions
18         22.    The simple math analysis described in this declaration, as well as the
19 findings and opinions expressed herein, are based upon the following records that
20 can be organized into 4 categories of information:4
21                a.     Brookdale Policy and Practice Documents,
22                b.     Brookdale Deposition Testimony,
23                c.     Brookdale Facility-Specific Raw Data, and
24                d.     Summaries of Voluminous Brookdale-Specific Raw Data.
25 These categories of information are more specifically described below.
26
27
     4
28
       Additionally, Plaintiffs’ counsel provided me a list of Brookdale California
     residents who did not sign arbitration agreements.
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 1                      VI.   Brookdale Policy and Practice Documents
 2          23.    I was provided and reviewed the following Brookdale Policy and
 3 Practice Documents related to Brookdale’s resident assessment process, task times

 4 and frequencies, staffing, job descriptions, and resident contracts, including:

 5                 a.     Brookdale’s Personal Service Assessment and Personal Service
 6          Plan Interpretive Guidelines, dated July 2018,
 7                                              (BKD0005133-5158);
 8                 b.     Brookdale’s “Using the Personal Service System (PSS)
 9          Online—Quick Reference Guide” (BKD0005118-5131);
10                 c.     Sample of completed Brookdale PSA/PSP Q&A Assessment
11          form (used for prospective assisted living residents) that lists the services to
12          be provided to residents for a fee (BKD1152669);
13                 d.     Brookdale Acuity Minutes Norms spreadsheet (including both
14          AL and MC information),
15

16                                                                         (BKD2874663);
17                 e.     Brookdale Clinical Time Studies spreadsheets
18                                                                        (BKD2886744 and
19          BKD2886745);
20                 f.     Brookdale’s “Deep Dive Follow-Up Review of Current RSW5
21          Time Standards” document dated October 18, 2011,
22

23

24                                          (BKD2882807);
25

26   5
         According to this Brookdale Deep Dive Follow-Up document,
27

28
                                                                                              ”
     (BKD2882807, page 1).
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 1               g.     Brookdale’s community-specific spreadsheets that show how
 2

 3                     that generally result in less staff time being available to provide
 4        line-item services (BKD2874670 though BKD2874674);
 5               h.     Brookdale’s Service Alignment (SA) QRG: Resident Services
 6        Summary Report for the Clinical Department
 7

 8        (BKD1152619);
 9               i.     All Brookdale job descriptions including those job titles who
10        have primary responsibility for providing the line-item care services
11        identified through the Personal Service Assessment (
12                                              starting 01_BKD0023691 and ending
13        136_BKD0203521,                                                         ); and
14               j.     Sample Maximum Daily Staffing for Clinical Department
15        Report (BKD2517693).
16                        VII. Brookdale Deposition Testimony
17        24.    I was also provided and reviewed the following Brookdale deposition
18 testimony relating to Brookdale’s staffing methodology, task time studies, and other

19 issues germane to this case:
20               a.     The 30(b)(6) depositions of Brookdale’s representative Audrey
21        Withers, Senior Human Resources Business Partner, and Kevin Bowman, the
22        Division Vice President of Operations, West Division—the person with the
23        most knowledge of Brookdale’s staffing methodology, and task time studies;
24        and
25               b.     The depositions of Brookdale Director of Operations Jeffrey J.
26        Toomer, District Director of Operation Rhonda Dolcater, and Brookdale
27        Senior Vice President of Operations Sheila Garner, and the depositions of
28        various Brookdale facility Executive Directors—including Anna Reddy,

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 1         Ferdinand Augustus Buot, Jr., Kimia Ataeian, Marie Harris, and Theresa
 2         Ward.
 3                              VIII. Brookdale Facility-Specific Data
 4         25.     Additionally, I was provided and reviewed the following Brookdale
 5 facility-specific data: (a) Raw Resident Assessment Data, (b) Raw Resident Move-

 6 Out Data, (c) Raw Punch Detail Staffing Data, (d) Raw Job Title Lookup Tables,

 7 (e) Raw Labor Detail Report Data, and (f) Raw Resident Pendant Data, described

 8 below.6

 9                 a.       Raw Resident Assessment Data: I reviewed the raw resident
10         assessment data that was produced by Brookdale (in .csv format) in this case
11         for residents who lived at Brookdale’s California facilities during the class
12         period. An examination of this raw resident assessment data reveals
13                                                                          :
14

15

16

17

18

19
20

21

22                       iv.
23                        v.
24                       vi.
25                      vii.
26                      viii.
27
     6
28
      Additionally, I have reviewed the floorplans for the Brookdale California facilities
     analyzed and discussed below.
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 1                    ix.                      .
 2        Within this raw assessment data, each row contains a
 3

 4

 5

 6

 7

 8

 9

10

11                                                                                        See
12        BKD1299857 though BKD1299846.
13               b.     Raw Resident Move-Out Data: I also reviewed the raw resident
14        move-out data showing if and when a resident moved-out of a Brookdale
15        California facility (see BKD1820457). Using the PSA date (the date on
16        which the assessment became active—discussed above) from the raw
17        resident assessment data and the associated move-out date, if any, for a
18        resident identification number, the total number of residents in a facility on
19        any calendar day can be determined (census). For example, if a facility has
20        85 active resident assessments on January 14, 2016, the census on that day is
21        85. Based on the type of assessment (Assisted Living (AL) and the Memory
22        Care (MC)), the PSA dates, and move-out dates provided by Brookdale for
23        each resident identification number, the daily census for the entire facility, as
24        well as the daily census for AL and MC, can be calculated.
25               c.         Raw Census Data: Brookdale produced Labor Detail Reports
26        that showed the daily total census (count of residents) in its facilities. See
27        BKD2874675 through BKD2874760_Confidential.
28

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 1                                                                                       . As
 2         described below, the total resident census per day, as well as the specific
 3         census levels on the assisted living unit and the memory care units, could be
 4         derived from a daily count of active resident assessments (based on move-
 5         in/move out data).7
 6                d.      Raw Punch Detail Staffing Data: Brookdale also produced, and
 7         I reviewed the raw, daily punch detail staffing data for Brookdale’s
 8         California facilities,
 9                                                             (see BKD1384958 through
10         BKD1384975_Confidential). More specifically, this staffing data includes
11         the following:
12                       i.
13

14                      ii.
15

16                     iii.
17                     iv.
18

19                      v.
20

21                e.      Raw Job Title Lookup Tables: I was provided and reviewed
22         lookup tables that contain
23

24                                             (see BKD1384976_Confidential). Although
25         Brookdale did not produce the identities of the employees in the raw punch
26         detail staffing data, it did provide this lookup table that allows
27
     7
28
      See discussion of census based on active resident assessments and census from
     Labor Detail Reports in paragraphs 41-44 below.
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 1

 2

 3                 f.     Raw Labor Detail Report Data: I was provided and reviewed
 4         the raw Labor Detail Report data for Brookdale’s California facilities that
 5         identifies
 6                                                                                        (see
 7         BKD2874675 through BKD2874760_Confidential).
 8                 g.     Raw Resident Pendant Data: Additionally, I was provided and
 9         reviewed raw resident pendant data produced by Brookdale and third-parties
10         (in response to subpoena) that details
11

12                                             (including BKD2882113-23, BKD2886780-
13         86, BKD2937371-73).8
14         26.     Routine Business Records and Objectively Verifiable Facts: The
15 above-referenced Brookdale documents and raw data are of the kind and type kept

16 by assisted living facilities in the normal course of business in California and other

17 states, and they contain the information needed to allow me to determine

18 mathematically the amount of staff required on a daily basis, the amount of staff

19 available, and any gap between the two, and also to determine if Brookdale
20 residents were at significant risk of not receiving documented and required care

21 services.

22               IX.    Summaries of Voluminous Facility-Specific Raw Data
23
                            for Brookdale’s California Facilities

24         27.     The line-item raw resident assessment data produced by Brookdale for
25 all residents in Brookdale’s California facilities contained hundreds of millions of

26 cells of data (it exceeds 290 GBs). Further, the raw daily punch detail staffing data

27
     8
28
       It is my understanding that, although Plaintiffs requested pendants for all
     Brookdale’s California facilities, complete pendant data was not provided.
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 1 produced by Brookdale contained over 150 million cells of data (totaling 2.38
 2 GBs).
 3         28.    Due to the voluminous nature of this raw assessment and staffing data,
 4 I directed that a database be constructed by Data Analytics’ database specialist,
 5 William Blake Peters, to summarize the line-item care services and staffing hours
 6 on a per day basis. This database allowed us to compile and link the assessment and
 7 staffing data together on a per day basis and to perform thousands of simple math
 8 calculations, computing (a) the total number of each type of line-item service
 9 required by the patient population at each facility on a daily basis, (b) the total
10 amount of staff time required to provide these line-item services, (c) the amount of
11 staff time available to provide these line-item services, and (d) the daily gap, if any,

12 between the amount of care time required versus the amount of time actually
13 available to staff.
14         29.    Additionally, I directed and supervised Mr. Peters in creating
15 summaries of voluminous data that include the following:
16                a.     Analysis of Line-Item Care Services Counts Per Day:              The
17         average daily count of line-item services, as well as the average percent of
18         the total count of line-item care services per facility, based on assessment
19         data and task frequencies (Daily Average Count of Line-Item Services,
20         FLORES0003);
21                b.     Analysis of Required Time: Daily hours required to provide all
22         line-item services to residents, based on assessment data, task times, and
23         frequencies by Care Managers, Med Techs, Care Directors, and/or Licensed
24         Nurses and by unit (AL, MC, and the entire facility) (Simple Math Analysis,
25         FLORES0004);9
26
27
     9
28
      This summary of voluminous data is described in more detail below in paragraphs
     35 through 40.
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 1                 c.     Analysis of Available Time With Reductions for 10-Minute
 2          Breaks: Total hours of daily labor time available10 after reductions were
 3          made for 10-minute staff breaks from the raw punch detail staffing data time,
 4          including daily summaries of the number of hours worked by Care Managers,
 5          Med Techs, Licensed Nurses, and Care Directors and by unit (AL, MC, and
 6          the entire facility) (see Simple Math Analysis, FLORES0004);11
 7                 d.     Analysis of Required Versus Available Time: Comparisons of
 8          the labor hours required per day by staff to deliver care documented in
 9          resident assessments versus the labor hours available to staff per day to
10          deliver this care and the delta between the two (see Simple Math Analysis,
11          FLORES0004);
12                 e.     Percent of Staffing Hours by Job Group (see Staffing Hours by
13          Job Group, FLORES0005);
14                 f.     Analysis of Labor Detail Report: Comparison of the actual staff
15          hours per day at each of Brookdale’s California facilities (according to
16          Brookdale’s Labor Detail Report) versus benchmark hours per day and
17          counts of the days when the actual hours available at Brookdale’s facilities
18          were less than the benchmark hours (see Labor Detail Report Analysis,
19          FLORES0006);
20
21
     10
22    Available hours per day means the amount of time staff has available to provide
   line-item services documented in resident assessments after staff activities that
23 reduce available care hours have been deducted. Staff activities that reduce
24 available care hours are discussed in more detail below.
     11
25   It should be noted that Brookdale’s punch detail staffing data contained punch-in
   and punch-out times for meal breaks. Accordingly, for purposes of calculating work
26 time available to staff, the time that staff spent on meal breaks was accounted for in
27 these punch detail staffing records. However, since Brookdale staff did not punch-
   out for their paid 10-minute breaks, these 10-minute breaks were deducted from
28 available work time in the simple math staffing analysis.

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 1                 g.     Analysis of Resident Census Data: Comparison of the Labor
 2          Detail Report census numbers to the census numbers derived from active
 3          resident assessments (see Census Analysis, FLORES0007);
 4                 h.     Analysis of Resident Diagnoses and Quantity of Line-Item
 5          Services Required Per Day (see Resident Diagnoses and Line-Item Services
 6          Analysis, FLORES0008); and
 7                 i.     Disability Profiles for Brookdale Residents who did not sign
 8          arbitration agreements (see Disability Profile Analysis, FLORES0009).
 9          30.    Quality Assurance Review of All Summaries of Voluminous Records:
10 The summaries of voluminous raw data described herein were compiled in
11 accordance with my directions and under my supervision by Mr. Peters, Data

12 Analytics. I have worked with Mr. Peters on several projects. As in prior projects, I
13 provided instructions to Mr. Peters with respect to the analysis of the raw Brookdale
14 data and the specific formatting of the summarized data12—all of which were
15 followed in this case. The summary data provided by Mr. Peters is of the kind and
16 type of data that I regularly use and rely upon. I have been provided this same type
17 of data from Mr. Peters in the past and have found it to be reliable and accurate.
18 Based on my prior work with Mr. Peters in this and other cases, I know that he has

19 the required expertise, training, education, and tools necessary to create accurate
20 summaries of voluminous data using standard SAS programming.
21          31.    I further understand that Mr. Peters has performed standard internal
22 database checks to ensure that the above-described summaries of voluminous raw
23 data are accurate and reliable. I have also reviewed, tested, and confirmed that these
24 summaries are accurate and reliable. These summaries serve as an objectively
25 verifiable basis for my findings and opinions contained in this declaration.
26
     12
27    Additionally, I understand that ProModel requested that Mr. Peters adhere to
28
   specific formatting instructions with respect to the certain summaries of voluminous
   data used in ProModel’s DES testing and failure analysis.
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 1          32.    The above described raw data and summaries of voluminous data,
 2 along with peer-reviewed journal articles and industry task time data, provide a
 3 sufficient basis to form an opinion, based on a reasonable degree of nursing
 4 certainty, about (1) Brookdale’s staffing methodology, (2) the amount of staff time
 5 required to deliver the care services documented by Brookdale in resident
 6 assessments, (3) the sufficiency of the actual numbers of staff and available staff
 7 time to meet the documented care needs of residents, and (4) whether residents
 8 were placed at continuing and substantial risk for not receiving needed care.
 9                  X.     Simple Math Analysis of 6 Brookdale Facilities
10          33.    As stated previously, the simple math methodology mathematically
11 calculates the labor time required each day to deliver all required line-item services

12 to residents and compares this to the actual labor time available each day. In order
13 to perform this simple math staffing analysis on a per day basis, complete or
14 substantially complete assessment and staffing data must be available for the days
15 to be analyzed.
16          34.    Six Brookdale Facilities: For purposes of this Declaration, I performed
17 simple analysis related to the following 6 Brookdale facilities on all days where
18 substantially complete assessment and staffing data was produced by Brookdale:

19                 a.     Anaheim: 1/1/2017 to 12/31/2019,
20                 b.     Brookhurst: 1/1/2017 to 12/31/2019,
21                 c.     Irvine: 1/1/2017 to 12/31/2019,
22                 d.     Mirage Inn: 1/1/2017 to 12/31/2019,
23                 e.     North Euclid: 1/1/2017 to 12/31/2019, and
24                 f.     Scotts Valley: 1/1/2017 to 12/31/2019.
25 The complete or substantially complete data produced by Brookdale13 for these 6
26 facilities allowed me to examine and calculate the total daily staff time required to
27
28   13
       See Tables 1 and 2 below and related discussion in paragraphs 41 through 44
     regarding missing resident assessment and move-out data.
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 1 provide all line-item services to all residents in each facility compared to the total
 2 daily staff time available.14
 3          35.    Mathematically Determining Daily Staff Time Required at
 4 Brookdale: In order to calculate the amount of staff time required at any RCFE or
 5 Brookdale facility, the following 3 elements must be determined on a daily basis:
 6                 a.     The number of residents who require each unique line-item
 7          service,
 8                 b.     The daily frequency that each line-item service is to be
 9          performed in each facility, and
10                 c.     The task time (minutes required) for each line-item service.
11          36.    The simple math formula for calculating the daily staff time required
12 for a line-item service is to multiply (a) its total number of residents requiring a
13 unique line-item service by (b) the corresponding frequency per day (that the
14 unique line-item service is to be performed), multiplied by (c) its average task time
15 in minutes. The product of these 3 elements equals the minimum time required to
16 deliver each line-item service to all residents. To calculate the total daily staff time
17 required to provide all line-item services to all residents in each facility, the total
18 minutes required for each of the line-item services are simply added together.

19          37.    Number of Brookdale Residents Who Require Each Line-Item
20 Service (Required Time Element 1): An examination of the raw resident
21 assessment data for these 6 facilities reveals a total of 95 possible line-item service
22 tasks to be performed by Brookdale staff. One hundred percent (100%) of AL
23
24
25
26
      It is my understanding that Plaintiffs have requested complete raw resident
     14

   assessment data, raw resident move-out data, and raw punch detail staffing data for
27 all of Brookdale’s California facilities. However, to date, it is my understanding
28
   that Brookdale has not produced all data required to perform simple math on all its
   California facilities.
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 1 residents (and MC residents, where applicable) at each of these 6 facilities15
 2 required some number of line-item services during their respective residencies
 3 within the specified timeframes. Each of these line-item services required staff time.
 4 As the number of line-item services for a resident increased, the amount of staff
 5 time required increased, thus reducing the available time the common and limited
 6 pool of staff had to deliver services to other residents. See Service Code Identifier
 7 Key, FLORES0010 (columns B and C list the possible 95 line-item services).
 8           38.    Unique Identification Codes Assigned to Each Line-Item Service:
 9 In order to analyze the raw resident assessment data for these 6 Brookdale facilities,
10 I assigned each specific service task (each row) a unique identifier—a single
11 number referred to as a “Service Code.” These Service Codes are utilized for

12 purposes of compiling and counting how many residents required each specific
13 service task on a daily basis in each of the AL and MC units, as well as for each
14 entire facility.
15           39.    Four (4) Major Categories of Line-Item Services: The 95 line-item
16 services/service codes fall into 4 main groupings: (1) activities of daily living—
17 ADLs, (2) Medical, (3) Behavioral, and (4) Miscellaneous.                See Service Code
18 Identifier Key, FLORES0010, Codes & Groups tab, column A-Main Groups. Each

19 of the 4 main groupings can be further divided into their own subcategories,16 with
20 each of these subcategories having a number of associated line-item services. See
21 FLORES0010, Codes & Groups tab, columns C and D-Service Code and Task. For
22 instance, with respect to the “Bathroom Assistance” subcategory (part of the ADL
23
24
     15
          Three of the 6 facilities—Anaheim, Brookhurst, and Mirage Inn—operated both
25 AL and Memory Care units. Irvine, North Euclid, and Scotts Valley operated only
26 AL units.
     16
27   For example, the ADL group can be subdivided into 5 service subcategories:
28
   Dressing & Grooming, Showering or Bathing, Bathroom Assistance, Escort &
   Mobility, and Nutrition (feeding assistance). See FLORES0010, rows 2 through 53.
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 1 group), there are 7 distinct line-item services for which residents may be charged
 2 and which require staff time (see Service Codes 3.1 through 3.7). These distinct
 3 line-item services do not all require the same amount of time from staff. Some
 4 require little staff time (for instance, merely needing staff reminders to go to the
 5 bathroom), while other require more (for instance, the help of 2 staff members to
 6 provide toileting assistance because of the resident’s inability to stand or balance
 7 with the assistance of only 1 associate).
 8        40.    Daily Counts of Resident Requiring Each Line-Item Service:
 9 Based on the PSA dates and move-out dates available for each resident, the active
10 resident assessment for each resident "in the building" can be determined and
11 defined by calendar date. Once calendared, the resident assessments can then be

12 used to determine the total daily number of each line-item service task required by
13 every resident in the facility for each day. As previously discussed, the total amount
14 of time required by staff per day is determined by taking the number of residents
15 who require each line-item service each day, multiplying that count by the
16 associated frequency and the associated task time, and then adding them altogether.
17 The total amount of daily required time equals the facility workload.
18        41.    Daily Counts of Line-Item Services Where Census Levels Based on
19 Assessments and Labor Detail Variance Data Do Not Match: As a practical
20 matter, the higher the resident census is in an RCFE, the more work staff must
21 perform (i.e., the greater the workload). For purposes of the simple math analysis,
22 in order to ensure that the census count in the 6 facilities was correct, we compared
23 the daily census reported by Brookdale in its Labor Detail Reports to the daily
24 census calculated from active resident assessments (which contained the effective
25 date of each assessment) and any dates residents moved-out of the facility from
26 January 1, 2017 to December 31, 2019 (analysis included 1,095 days per facility,
27 see Census Analysis, FLORES0006).
28        42.    As set forth in Table 1 below, this comparison revealed:

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 1                   a.        The days where Brookdale’s reported census numbers (Labor
 2          Detail Reports) matched the census numbers derived from active resident
 3          assessments,
 4                   b.        The days where 1 assessment was missing,
 5                   c.        The days where 2 assessments were missing,
 6                   d.        The days where 3 assessments were missing,
 7                   e.        The days where 4 assessments were missing, and
 8                   f.        The days where 5 assessments were missing.
 9                          Number of
                                             Number of
                                                                                                Number of
                                            Days When
                           Days When                       Number of Days    Number of Days    Days When         Number of
                                            Assessment-
10                         Daily Labor
                                              Derived
                                                                When              When         Assessment-      Days When
                          Report Census                      Assessment-       Assessment-       Derived        Assessment-
                                             Census Is
11   Name of Facility      and Census
                                            1 Less than
                                                           Derived Census    Derived Census     Census Is     Derived Census
                             Based on                       Is 2 Less than    Is 3 Less than   4 Less than     Is 5 Less than
                                            Labor Detail
                          Active Resident                    Labor Detail      Labor Detail    Labor Detail     Labor Detail
12                         Assessment
                                              Report
                                                            Report Census     Report Census      Report       Report Census
                                              Census
                              Match                                                              Census
13
       Anaheim
14    Brookhurst
15       Irvine
16
      Mirage Inn
17

18   North Euclid
     Scotts Valley
19
       Table 1 (Comparison of Labor Detail Report Census to Census Based on Active
20                               Resident Assessments)
21

22          43.      The effect of these missing assessments is a reduction in workload, as
23 each assessment represents a body of work that must be performed. Accordingly, on

24 every day with an assessment missing, the simple math assessment would not fully

25 capture all line-item care services required to be performed by staff and therefore

26 would cause the analysis to be ultra-conservative.

27          44.      The days when the census comparison revealed that more than five
28 assessments were missing were excluded from my analysis. Further, the days when

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 1 the daily census numbers derived from resident assessments exceeded the daily

 2 census numbers found in Brookdale’s Labor Detail Reports were also excluded.

 3 See Table 2 below and Census Analysis, FLORES0006.

 4                                                           Number of Days
                                                              When Census
                                           Number of Days
 5                                                           Based on Active
                                          When More than 5
                                                                Resident
                       Name of Facility       Resident
 6                                                            Assessments
                                          Assessments Were
                                                             Exceeds Labor
                                               Missing
 7                                                            Detail Report
                                                                 Census
 8                       Anaheim
                        Brookhurst
 9
                            Irvine
10

11                       Mirage Inn
12
                        North Euclid
13                      Scotts Valley
14     Table 2 (Number of Days Excluded from Analysis During 3-Year Timeframe)

15 The most plausible explanation for the daily census numbers derived from resident

16 assessments exceeding the daily census numbers found in Brookdale’s Labor Detail

17 Reports (on specific dates) is: because resident move-out data was missing, the

18 daily census calculated based on active resident assessments included an assessment

19 for a resident(s) who no longer resided in the facility.              All dates where the
20 calculated census (based on assessments) was greater than the daily census found in

21 Daily Labor Reports were excluded from the simple math analysis for the following

22 reasons--(1) it could not be determined which assessment(s) should be used or not

23 used to calculate the number daily line-item care services required where the

24 calculated census exceeded the Labor Detail Report census and (2) including line-

25 item services for more residents than were in the facility would unfairly increase the

26 workload being analyzed. See Table 2 and Census Analysis, FLORES0006.

27        45.    Accordingly, all the simple math results set forth below for each of the
28 6 facilities are limited to and only consider the specific days where (1) the census

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 1 numbers from these 2 data sources matched or (2) where the calculated census

 2 numbers are up to 5 residents less than the corresponding census reported in the

 3 Labor Detail reports (meaning that up to 5 assessments are missing).

 4        46.    To the extent that additional and complete assessment and move-out
 5 data is provided, this simple math analysis can be updated.

 6        47.    Daily Frequency of Each Line-Item Service (Required Time
 7 Element 2): There are certain line-item services that occur more than once a day,

 8 and others that occur only weekly or monthly. In order to calculate the total number

 9 of each line-item service required on a daily basis by all residents in a building,

10 each line-item service task must be multiplied by its frequency. For example, if 3

11 residents in the building require feeding assistance at a frequency of 3 times per

12 day, there is a total of 9 feeding assistance tasks required per day to be performed

13 by staff for this line-item service.

14        48.    For purposes of the simple math analysis, I used the Brookdale
15                                        that are found in the Acuity Minutes Norms
16 (BKD2874663), the Brookdale                     (BKD2886744 and BKD2886745), the
17 “Deep Dive” document (BKD2882807), and the raw resident assessment data itself.

18 To the extent that no task frequency was defined by Brookdale for a line-item

19 service, I applied a reasonable frequency for the line-item service based on: (a) the
20 task frequency used by other California ALF chains, (b) peer-reviewed literature,

21 and (c) my experience and expert opinion as to what constituted a reasonable

22 frequency for the particular care service. The specific task frequencies have been

23 compiled and are restated in FLORES0010, Input Key for Assessed Service tab,

24 columns K and L, Frequency and Frequency Period in Hours.

25        49.    Task Times (Required Time Element 3): In order to calculate the
26 total number of hours of staff time required for each line-item task on a daily basis,

27 the counts of each line-item must be multiplied by its task time. For example, the

28 total daily amount of time required to provide complete feeding assist and

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 1 supervision to 3 residents on a Brookdale MC unit is calculated as follows:                 3
 2 residents multiplied by the frequency of 3 times per day equals 9 daily feeding

 3 assistance tasks. Nine (9) feeding assistance tasks multiplied by the associated task

 4 time of 15 minutes equals 135 minutes (2 hours and 15 minutes) to provide this 1

 5 line-item service daily.

 6            50.   Brookdale Task Times: For purposes of the simple math analysis
 7 conducted in this case, Brookdale's own task time information was used whenever

 8 available.17 There are 2 sources for this Brookdale task time data:

 9

10

11

12

13

14

15            51.   For purposes of the simple math analysis, I used the available task
16 times for line-item care services found in the

17                     , except for the task times for bathroom (toileting) assistance and
18 escorting/mobility assistance. It is my opinion that the stated task times for

19 bathroom (toileting) assistance (                        ) and escorting (           ) in the
20                                                                            are too low and
21 unreasonable.18 Furthermore, these stated task times significantly contradict the

22

23   17
          For purposes of the simple math analysis, all the task times used were assumed to
24 only include the clinical time required to deliver the line-item care services and did

25 not include the time required by staff to travel to residents before delivering the
     services.
26
     18
     To the extent that Brookdale claims that its task times (
27
                                      ) include the time required by staff to travel to
28 residents before delivering line-item care services, I find that these task times are
   too low and unreasonable. As stated previously, for purposes of the simple math
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 1 times for bathroom (toileting) assistance and escorting found in

 2                                                                      )19 that I find to be
 3 reasonable. Accordingly, for the bathroom (toileting) assistance and escorting tasks,

 4 I used the task times found in Brookdale’s                                             .
 5           52.    To the extent that no task time data was defined by Brookdale’s
 6                                                       for a line-item service, I applied a
 7 reasonable task time for the line-item service based on: (a) the task times used by

 8 other California ALF chains, (b) peer-reviewed literature, and (c) my experience

 9 and expert opinion as to what constituted a reasonable task time for the particular

10 care service. The specific task times used in my analysis have been compiled and

11 are restated in FLORES0010, Input Key for Assessed Service tab, columns G and

12 H—AL Task Times and MC Task Times.

13           53.    Mathematically Determining Daily Staff Time Available:                    In
14 California, employees are required to take a 30-minute unpaid meal break before

15 the start of the fifth hour of work. Because Brookdale employees are required to

16 clock-out for meal breaks, the hours of staff time that are recorded in the raw punch

17 detail staffing data do not include time for meal breaks. Additionally, according to

18 California Code of Regulations, it is mandatory that each employee take a 10-

19 minute paid break/rest period for every 4 hours worked. California Code of
20 Regulations 11040, Order No. 5-2001 of CA Industrial Welfare Commission

21 (“Order Regulating Wages, Hours, and Working Conditions in Professional,

22 Technical, Clerical, Mechanical, and Similar Occupations”).                 Accordingly, to
23

24
     analysis, all the task times used were assumed to include only the clinical time
25 required to deliver the line-item care services (not travel time before delivery of the

26 service).
     19
27        See Section XIII below for further discussion regarding the discrepancy between
28
                             (BKD2886744 and BKD2886745).
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 1 calculate the maximum number of hours of staff time available to provide services
 2 to residents, these 10-minute breaks must be subtracted.
 3            54.    As to the 6 Brookdale selected facilities, the to-the-minute time that
 4 staff were on duty per day was initially determined using the raw punch detail
 5 staffing data and job title lookup information produced by Brookdale in this case.20
 6 In order to calculate actual time available for each staff on each shift, 10-minute
 7 breaks were deducted from the on duty time (in accordance with California
 8 regulations). More specifically, with respect to all punch detail data produced by
 9 Brookdale for the 6 facilities, I caused the actual time available for each Care
10 Manager, Med Tech, Licensed Nurse, and Care Director per day (on AL units and,
11 where applicable, MC units) to be computed. The staffing analysis performed

12 allowed us to break down the daily available staffing hours for each of these job
13 titles, by AL and, where applicable, MC unit, as well as determine the combined
14 total staff time available for the entire building on a per day basis.
15            55.    Brookdale Job Title Responsible for Each Line-Item Service:
16 Within           the   Labor     Detail     Report      data     (BKD2874675         through
17 BKD2874760_Confidential),            Brookdale     specifies   the   type    of   staff   (job
18 title/classification) who work in the Clinical Department. The Clinical Department

19 staff have primary responsibility for providing all line-item services to residents.21
20 Brookdale’s specification of the staff responsible for each line-item service allows
21
22
     20
          Further, this daily staffing data can be used in conjunction with the daily census
23 (discussed above) to determine at each facility, on each day the average amount of
24 time available to provide care per patient, known as hours per patient day
     (HrsPPD). This is a common metric to measure staffing levels in healthcare
25 facilities and allows for staffing to be compared at different facilities regardless of
26 differing census levels.
     21
27    The job duties and responsibilities for each specific job type/job title (including
28
   responsibilities related to line-item services) are further explained within the
   numerous Brookdale job descriptions produced (identified above).
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 1 us to identify which employees’ staffing records are relevant for determining the

 2 amount of staff time available to deliver required services. The staff responsible for

 3 providing each line-item service is compiled in the “Care Provider” and “Primary

 4 Care Provider Code” columns E and AM of FLORES0010, Input Key for Assessed

 5 Service tab. The following table summarizes the number of line-item services (of

 6 the identified 95) each staff type is responsible for providing:

 7                                                           Count of
 8                                                           Line-Item
                                  Discipline
                                                             Care and
 9                                                         Service Tasks
10                     Care Manager22
                       Med Tech23
11                     Licensed Nurse24
12                     Care Director25
                       Total                                 95
13
                   Table 3 (Counts of Line-Item Services per Care Provider)
14

15
     22
16

17
                                                                                       ”
18
     23
19                                                                                .”
20   24

21
                                                                                       ”
22
     25
23

24

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26

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 1          56.      Table 4 below shows the average total hours worked by all caregivers
 2 (Care Managers, MedTechs, LPNs, and Care Directors) in each of the 6 facilities

 3 and the average percent of this total time that is worked by each of these 4 types of

 4 caregivers, based on punch detail staffing data. See Percent of Staffing Hours by

 5 Job Grouping, FLORES0005, Summary Punch Detail tab.

 6
                         Average Total   % of Total
 7                                                    % of Total   % of Total
                          Hours of All   Hours for                               % of Total Hours
     Name of Facility                                 Hours for    Hours for
                          Caregivers       Care                                 for Care Directors
                                                      MedTechs      LPNs
 8                         (Per Day)     Managers

 9     Anaheim
10    Brookhurst

11        Irvine
12
        Mirage Inn
13
     North Euclid
14
     Scotts Valley
15                   Table 4 (Percentage of Time by Each Type of Caregiver
16                 based on Punch Detail Staffing Data for 3-Year Timeframe)

17          57.      As shown in Table 4, an average of            of the total caregiver time
18 for the 6 facilities identified above is comprised of Care Manager and MedTech

19 time based on the punch detail staffing data. Further, an analysis conducted of the
20 Labor Detail Reports for 54 Brookdale California facilities that were operated

21 during the entirety of the class period shows a strikingly similar result: an average

22 of              of the total caregiver time at 54 Brookdale California facilities is
23 comprised of Care Manager and MedTech hours. See Percent of Staffing Hours by

24 Job Grouping, FLORES0005, Summary Labor Detail Report tab.

25          58.      This determination of the actual staff time available each day, by-shift,
26 and by job-type/title allows us to compare the total number of available hours at a

27 facility to the total number of required hours each day. In sum, this simple math

28 comparison allows us (a) to understand whether there was enough staff to provide

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 1 required and promised line-item services and (b) to measure the extent to which a

 2 facility was overstaffed or understaffed on a daily basis.

 3                      XI.     Brookdale Simple Math Results and Opinions
 4            59.      Based on the simple math analysis performed (for the days where the
 5 available data was complete or substantially complete),26 it is my opinion that each

 6 of the 6 facilities was chronically understaffed, and as a consequence, Brookdale

 7 residents were placed at a substantial and ongoing risk for not receiving required

 8 and promised services.              The results of this simple math analysis are found in
 9 FLORES0004. Key findings are summarized in the Tables below.

10            60.      Prevalence Analysis: An examination of the available versus required
11 staff hours per day during the 3-year timeframes (1/1/17 to 12/31/19) for each

12 facility reveals the following prevalence (full data is provided in Simple Math

13 Analysis, FLORES0004):

14                      Total Number of Days
                                                 Number of Days on   Number of Days
                                                                                       Number of Days Where
                                                  AL Unit Where       on MC Unit
                         Where Complete or                                                 Total Facility
15                                                   Required        Where Required
           Name of      Substantially Complete                                            Required Time
                                                    Staff Time         Staff Time
           Facility     Data Was Available on                                            (AL + MC Units)
16                                                  Exceeded           Exceeded
                         AL and MC (where                                               Exceeded Available
                                                  Available Staff    Available Staff
                              applicable)                                                   Staff Time
17                                                     Time               Time

           Anaheim
18

19        Brookhurst

20          Irvine
21

22
          Mirage Inn
23

24

25

26
     As discussed above, Tables 5 through 8 only consider the days where (1) the
     26

   census numbers based on the assessments and from the Labor Detail Report data
27 matched or (2) where the calculated census numbers from the assessments have up

28
   to 5 residents less than the corresponding census reported in the Labor Detail
   reports (meaning that up to 5 resident assessments are missing).
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 1        North
          Euclid
 2        Scotts
 3        Valley
                                   Table 5 (Prevalence Analysis)27
 4
            61.      Average Daily and Total Analysis: The summaries below show the
 5
     average per day staffing deficits (measured in hours) and the total staffing deficits
 6
     for each facility for all the days analyzed (full data is provided in Simple Math
 7
     Analysis, FLORES0004):
 8
                        Average          AVAILABLE                                Delta Between
 9                                                             REQUIRED
                          Daily         Staff Hours for                           REQUIRED &
                                                              Staff Hours for
10                       Census        Care Managers +                            AVAILABLE
                                                                    Care
                       (AL + MC)         Med Techs +
          Name of                                              Managers +
11                       for Days
                                            LPNs +                               TOTAL Hours for
          Facility      Where Data                             Med Techs +
                                        Care Directors                           Care Managers +
12                     Was Complete                               LPNs +
                                       (with reductions for                     Med Techs + LPNs +
                             or                               Care Directors
                       Substantially    10-minute breaks)                         Care Directors
13                                         (AL + MC)            (AL + MC)
                        Complete                                                    (AL + MC)
14                       Daily
                                        Daily Averages        Daily Averages      Daily Averages
                        Averages
15     Anaheim
16    Brookhurst
        Irvine
17
      Mirage Inn
18      North
        Euclid
19
        Scotts
20      Valley
21
                            Table 6 (Average Per Day Deficit Analysis)

22

23

24

25

26
     27
27    This Table and the other Tables below are based on the resident assessment data,
   task times, and task frequencies described above, as compared to the Brookdale
28 staffing data (with reductions for 10-minute breaks) also described above.

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 1
                         Average                                        Delta Between
 2                                                  Total Number
                           Daily                                        REQUIRED &
                                                       of Days
 3                        Census                                        AVAILABLE
                                                      Analyzed
         Name of        (AL + MC)        AL and     (Including Days
 4                      for Days Where               with Matching     TOTAL Hours for
         Facility                        MC Units
                           Data Was                 Census Numbers     Care Managers +
 5                        Complete or                  and Up to      Med Techs + LPNs +
                         Substantially               5 Assessments      Care Directors
 6                         Complete                     Missing)
                                                                          (AL + MC)
 7                                                                      All Days Total
        Anaheim                    AL + MC
 8
       Brookhurst                  AL + MC
 9       Irvine                       AL
10     Mirage Inn                  AL + MC
      North Euclid                    AL
11                                    AL
      Scotts Valley
12                Table 7 (Total Deficit Analysis for All Days Analyzed)
13

14        62.      Percent of Service Time Omitted Analysis: The summary below shows
15 the percent of required time for line-item services that was mathematically

16 impossible for the available staff to deliver. The summary displays the percent

17 omitted for each facility on an average daily basis (full data is provided in Simple

18 Math Analysis, FLORES0004):

19                                             Percent of Required     Percent of Required
                        Percent of Required
        Name of                                   Service Time        Service Time Omitted
20                     Service Time Omitted
        Facility                                    Omitted                Full Facility
                              AL Unit
21                                                  MC Unit                (AL + MC)
       Anaheim
22
      Brookhurst
23      Irvine
24    Mirage Inn
        North
25
        Euclid
26      Scotts
        Valley
27
         Table 8 (Percent of Required Line-Item Service Time Omitted Analysis)
28

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 1          63.    In summary, the quantity of line-item services contained in
 2 Brookdale’s resident assessments and the amount of time required to deliver this

 3 care based on Brookdale’s own norm task times and task time studies28 reveals that

 4 it was mathematically and physically impossible for Brookdale’s staff to deliver all

 5 required line-item services, given the time was available to staff according to the

 6 Brookdale’s punch detail staffing data. The resultant staffing shortfall at these 6

 7 facilities was not an isolated occurrence but represented a pattern and practice that

 8 subjected residents to a substantial and continuing risk of not receiving required

 9 care.

10          64.    This same simple math approach can be applied to all other Brookdale
11 California facilities, assuming Brookdale has produced or will produce complete or

12 substantially complete data.

13         XII. Ultra-Conservative Nature of Brookdale Simple Math Analysis
14          65.    The simple math analysis and results described above are ultra-
15 conservative for the following reasons:

16                 a.     Due to the fact that on many of the days analyzed resident
17          assessments were missing for as many as five residents, the simple math
18          analysis does not fully capture all the line-item care services required by the
19          entire resident population resulting in a reduction of omitted care time on
20          those days;
21                 b.     It does not take into account the amount of time Brookdale staff
22          spend performing activities that are beyond/outside of the line item care
23          services documented and required in resident assessments including time
24
     28
25    As previously stated, Brookdale
26
            were used in the simple math analysis unless there was no Brookdale time
   available. In such case, a reasonable time based on: (a) the task times used by other
27 California ALF chains, (b) peer-reviewed literature, and (c) my experience and

28
   expert opinion as to what constituted a reasonable task time for the particular care
   service.
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 1          spent: (a) reporting to staff at the end and beginning of each work shift, (b)
 2          responding to and reporting incidents and accidents, (c) counting controlled
 3          substance at the end of each shift, and (d) performing medication
 4          administration audits;29
 5                 c.     It does not take into account the amount of time staff spend
 6          answering pendant/call-light requests by residents for assistance;30
 7                 d.     It assumes that 100% of the staff time related to the Care
 8          Director and Licensed Nurses at Brookdale is available for providing line-
 9          item care services to residents (such as ADL care)—when those staff
10          members have numerous time-consuming managerial and oversight
11          responsibilities that are not related to providing line-item care services;
12                 e.     It assumes that all hours of time available per day to all the
13          varieties of workers within the four groups (Care Managers, Med Techs,
14          Licensed Nurses, and/or Care Directors) can be used to perform every type of
15          line-item services; and
16

17   29
      The task times, frequencies, and job type/discipline for each of these non-service
18 staff activities, and these items have been compiled and are restated in Service Code
   Identifier Key, FLORES0010, Inputs re Staff Availability tab, with source
19 information. In my experience, these five non-service staff activities require
20 considerable time that further erode the time available to staff to deliver line-item
   services.
21
     30
      Moreover, according to the resident pendant data produced by Brookdale
22
   (pendants are widely-used in hospital, nursing homes, and ALF facilities and
23 perform a similar function to call lights), facility staff at Brookdale facilities were

24
                      (see BKD2882113-23, BKD2886780-86, BKD2937371-73).
25   Responding to pendant calls should be treated as high priority task for staff as a
26
     pendant call can possibly indicate a resident emergency. Responding to pendant
     requests for assistance not only takes staff time but also interrupts work flow. The
27   time required by staff to respond to pendants and the impact those interruptions
28
     have on work flow were not considered by the simple math analysis I performed in
     this case.
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 1               f.     It does not take into account staff bottle-necks in care delivery
 2         caused by scheduling conflicts or tasks which require more than the
 3         normal/average time to perform.
 4         66.   Further, as previously stated, the task times used in the simple math
 5 analysis do not include time expended as a result of the distance that staff are

 6 required to travel within the building to deliver care to residents.            The time
 7 Brookdale staff spend traveling within the building (as well as performing

 8 administrative/non-line-item care activities listed above and responding to pendant

 9 requests) significantly decreases the time they have during a work shift to perform

10 the line-item services documented in resident assessments.

11         67.   Accordingly, the simple math staffing analysis described herein
12 provides an extremely conservative calculation of staffing because it does not

13 account for certain staff activities that significantly reduce the time available to staff

14 to deliver the care services documented in each resident’s assessment. More

15 specifically, if these above-described factors that take away from staff care time had

16 been included in the simple math staffing analysis, the gap between required and

17 available hours for the selected facilities would have been significantly greater.

18 Stated another way, Brookdale's staffing was insufficient at these facilities even

19 when time-consuming activities such as staff travel time, administrative tasks, and
20 pendant response time were excluded from the simple math analysis.

21                XIII. Is Brookdale’s Staffing Methodology Defective?
22         68.   Brookdale’s Staffing Methodology: According to documents
23 produced by Brookdale, to calculate staffing at each of its facilities, Brookdale uses

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 1

 2

 3        69.    At the heart of Brookdale’s own staffing methodology,
 4

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12        70.    The Labor Detail Report data produced by Brookdale confirms that
13

14

15

16

17        71.    Brookdale’s Staffing Methodology Is Defective: The methodology
18 Brookdale uses to determine staffing in its facilities is defective and places residents

19 at a substantial and unreasonable risk of not receiving required care services. More
20 specifically, Brookdale’s staffing methodology is defective and fails to ensure that

21 facility personnel are sufficient in numbers at all times to provide the services

22 necessary to meet resident needs, for the following reasons:

23               a.     First,   the                                 used    by   Brookdale
24        (BKD2874663) related to bathroom assistance and escorting/mobility
25        assistance are unreasonably low and simply not credible. According to the
26                                     used by Brookdale in its staffing methodology,
27        toileting/bathroom assistance requires a
28                                 Based on my experience (as well as on ALF industry

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 1        times and published literature), RCFE residents who need toileting/bathroom
 2        assistance require (on average) significantly more time than                      of
 3        staff time per toileting/bathroom episode. Further, according to the
 4                                 used by Brookdale in its staffing formula, escorting a
 5        resident (i.e., assisting a resident to ambulate, pushing a resident in a
 6        wheelchair, or escorting a mentally or physically disabled resident) from one
 7        location to another within the facility (typically from their room to the dining
 8        room) requires a
 9              . Based on my experience (as well as on ALF industry times and
10        published literature), RCFE residents who need escort assistance require (on
11        average) significantly more time than              per escort episode.
12               b.     Second, the
13

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21                                                                                      .
22               c.     Third,
23

24

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 1

 2

 3

 4

 5

 6

 7

 8                                                                                     By using
 9            bathroom assistance and escorting norm task times that are unreasonably low
10            and                                              , Brookdale has fundamentally
11            reduced the amount of staffing provided to residents.31
12                  d.     Fourth, Brookdale
13

14

15

16

17

18

19            72.   These facts form the basis of my opinion that Brookdale’s other
20 facilities (not just the 6 selected facilities I analyzed) were subject to a common and

21 flawed staffing methodology that caused these facilities to be chronically

22 understaffed. As a result, residents were placed at a substantial and ongoing risk for

23 not receiving required and promised services.

24

25
     31
26
          Furthermore, to the extent that any of Brookdale’s

27

28

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 1
 2              XIV. Were Residents of Brookdale’s California Facilities
 3
                             Impaired and Vulnerable?

 4        73.    Impaired and Vulnerable Resident Population:               As part of my
 5 analyses of the raw resident assessment data related to the 6 Brookdale facilities, I
 6 also reviewed the diagnoses and line-item care services required per resident. See
 7 Resident Diagnoses and Line-Item Care Service Analysis, FLORES0008. Based on
 8 this review, I find that residents in these 6 facilities had very similar diagnoses and
 9 care needs to the RCFE residents I have personally cared for over my career. My
10 analysis of the diagnoses and line-item care services required by these residents at
11 the 6 Brookdale facilities confirm that these residents are elderly and require staff to

12 compensate for their mental and/or physical impairments and meet the care needs
13 that they are unable to perform for themselves or require assistance in performing. I
14 have no reason to believe that the assisted living residents (and, where applicable,
15 memory care residents) living in Brookdale’s other California facilities are
16 dissimilar in terms of their diagnoses, age, impairments, and care needs. As a
17 consequence of their diagnoses, age, and mental and/or physical impairments, all
18 Brookdale RCFE residents depended on a common and limited pool of staff to meet

19 their needs in each Brookdale facility.
20     XV. To What Extent Did Residents of Brookdale’s California Facilities
           (Not Subject to Arbitration Agreements) Have Disabilities?
21
22        74.    Disability Profile for Residents Not Subject to an Arbitration

23 Agreement: As part of my review, Plaintiffs’ counsel provided me a listing of
24 residents of Brookdale’s California facilities who were not subject to an arbitration
25 agreement. I was able to match 4,485 residents who were listed as not being subject
26 to an arbitration agreement with their respective resident assessments using resident
27 identification numbers. Based on my review of the resident assessment data
28 produced in this case, I was able to determine which of these residents were

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 1 assessed by Brookdale as having disability-related needs and conditions. See

 2 Disability Profile for Residents without Arbitration Agreements, FLORES0009.

 3 More specifically, based on the definition of “disability” (28 C.F.R. § 36.105), I

 4 have isolated                                            indicative of a disability, and
 5 determined the number of Brookdale residents without arbitration agreements who

 6 have those disability indicators. More specifically, of the identified non-arbitration

 7 residents who could be matched with their resident assessments, eighty percent of

 8 them (3,617 out of 4,485) have one or more of the following disability indicators:

 9               a.     Use of a walker (2,639 residents—most Brookdale facilities in
10        California have ten or more residents who use walkers for mobility),
11               b.     Use of a wheelchair (1,905 residents—most Brookdale facilities
12        in California have ten or more residents who use wheelchairs for mobility),
13               c.     Use of a motorized wheelchair (109 residents),
14               d.     Use of a scooter (162 residents),
15               e.     Use of a cane (595 residents),
16               f.     Use of a sliding transfer board (13 residents),
17               g.     Requires Braille (1 resident),
18               h.     Has macular degeneration (257 residents),
19               i.     Uses Hearing aid (876 residents),
20               j.     Requires assistance in the use of hearing devices (167 residents),
21               k.     Requires assistance in cleaning hearing devices (90 residents),
22               l.     Requires assistance in inserting hearing devices (155 residents),
23               m.     Requires assistance in storing hearing devices and with batteries
24        (186 residents),
25               n.     Using TTY (a teletypewriter device that helps people who are
26        deaf, speech-impaired, or hard-of-hearing use a phone to communicate) (1
27        resident),
28               o.     Using sign language (2 residents), and

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 1                 p.     Requiring communication board (4 residents).
 2          75.    Accordingly, my analysis shows that eighty percent (or 3,617 out
 3 4,485 of non-arbitration residents for whom an assessment could be found) were
 4 disabled within the definition of “disability” stated in the Americans with
 5 Disabilities Act (ADA) (28 C.F.R. § 36.105). Based on the analysis above, the total
 6 number of these Brookdale residents with mobility disabilities32 is 3,435, and the
 7 total number of these Brookdale residents with vision disabilities33 is 258.
 8          76.    Further, my analysis shows that disabled residents were found in every
 9 Brookdale California facility (78 facilities) where non-arbitration residents could be
10 matched to resident assessments. See Disability Profile for Residents without
11 Arbitration Agreements, FLORES0009.

12          77.    The prevalence of disabled residents in Brookdale’s California
13 facilities underscores: (a) the importance of Brookdale’s continuing responsibility
14 to provide disabled residents with sufficient numbers of staff to meet their care
15 needs and (b) the common dependency on a limited pool of staff these residents
16 share.
17          78.    It is my understanding that Plaintiffs have requested that Brookdale
18 make a reasonable modification in its policies and practices regarding caregiver

19 staffing to increase the amount of such staffing so that it is sufficient at all times to
20 provide the assisted living services specified in the residents’ assessments. In my
21 opinion, this modification is reasonable and is necessary to ensure that residents
22 with disabilities receive assistance with activities of daily living and other line-item
23 care services that they need because of their disabilities as set forth in Brookdale’s
24
25   32
      Residents who have mobility disabilities require the use of one or more of the
26 following: motorized wheelchair, cane, walker, wheelchair, scooter, or sliding
   transfer board.
27
     33
28
       Residents who have vision disabilities require the use Braille or have macular
     degeneration.
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 1 resident assessments. Modifying Brookdale’s staffing policies and procedures so
 2 that they are (1) based on accurate and reasonable task times for care services,
 3 including but not limited to toileting and mobility escort and (2) account for all line-
 4 item care services documented in resident assessments is necessary to ensure that
 5 Brookdale’s facilities provide staffing that is at all times sufficient in numbers to
 6 meet resident care needs.
 7    XVI. Do Deficiencies Issued by the California Department of Social Services'
 8
            Community Care Licensing (CCL) Division Provide Findings
             Relevant to the Staffing of Brookdale's California Facilities?
 9
10         79.   Information obtained to date from the California Department of Social

11 Services’ Community Care Licensing (CCL) Division confirms the staffing issues

12
     described hereinabove. The citations provide ample evidence (1) directly related to

13 insufficient staffing levels at Brookdale facilities and (2) indicative of the
14 substantial and ongoing risk residents face as a result of Brookdale’s staffing
15 practices.
16         80.   For example, I have reviewed Facility Evaluation Reports and

17 Complaint Investigation Reports evidencing 807 deficiencies issued by the
18 Department of Social Services’ Community Care Licensing (CCL) Division to 71

19 Brookdale California facilities from 2015 through 2021. Of these 807 deficiencies,
20 the vast majority of them appear related to staffing issues either directly (for
21 specifically failing to have sufficient staff) or indirectly being indicative of
22 insufficient staff, poor resident care, and other problems consistent with facility
23 understaffing (see DSS Citations Summary, FLORES0011).
24         81.   Based on my review of these deficiencies, I find that the high number

25 of citations and the occurrence of repeated citations for the same deficiencies at
26 individual Brookdale facilities are significant. I also note that Brookdale’s
27 California facilities have been repeatedly cited for failing to self-report violations,
28 incidents, care failures, and even deaths. Moreover, the numerous instances where

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 1 residents called 911 when unable to get assistance from Brookdale staff (cited
 2 within these DSS deficiencies) further corroborates my findings of insufficient
 3 staffing at Brookdale’s facilities.
 4            82.   Specific Staffing Failures Found by CCL: Based on my review, CCL
 5 issued 63 citations to 33 facilities34 for violating 22 CCR § 87411, which requires
 6 that “facility personnel shall at all times be sufficient in numbers, and competent to
 7 provide the services necessary to meet resident needs.”              Further, there were 8
 8 citations to 6 facilities35 for violating Health & Safety Code § 1569.269(a)(6) or its
 9 implementing regulation, 22 CCR § 87468.2(a)(4), which provide that residents
10 have the right “to care, supervision, and services that meet their individual needs
11 and are delivered by staff that are sufficient in numbers, qualifications, and

12 competency to meet their needs.” And there were 11 citations to 10 facilities36 for
13 violating 22 CCR § 87705(c)(4), which requires that facilities who accept residents
14 with dementia are responsible for ensuring that “there is an adequate number of
15 direct care staff to support each resident’s physical, social, emotional, safety and
16 health care needs as identified in his/her current appraisal. For example:
17                  a.     Brookdale North Tarzana was cited for having insufficient
18            staffing when one caregiver was found to be providing care and supervision
19            to over 80 residents,
20
21
22
     34
          These Brookdale facilities included: Alhambra, Brookhurst, Camarillo,
23 Chatsworth, Corona, Elk Grove, Fairfield, Folsom, Fountaingrove, Greenhaven,
     Hemet, Loma Linda, Magnolia, Mirage Inn, Murrieta, Napa, North Fremont, North
24 Tarzana, Oceanside, Orangevale, Rancho Mirage, Redwood City, Riverside,
     Riverwalk, San Jose, San Pablo, Santa Monica, Santa Monica Gardens, Scotts
25 Valley, South Tarzana, Sterling Court, Stockton, and Tracy.
     35
26    These Brookdale facilities included: Anaheim, Corona, Greenhaven, Magnolia,
     Northridge, and Sterling Court.
27
     36
28
       These Brookdale facilities included: Citrus Heights, Clearlake, Corona, Elk
     Grove, Hemet, Rancho Mirage, Riverwalk, Roseville, Salinas, and Tracy.
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 1                 b.   Brookdale Scotts Valley was cited for having insufficient
 2        staffing when staff failed to check on a resident who was left on the floor
 3        without food or water for 24 to 30 hours,
 4                 c.   Brookdale Magnolia was cited for violating the right to
 5        sufficient staffing when Brookdale staff did not know a resident had eloped
 6        from the facility until a staff member on her way home from work saw him
 7        down the street with paramedics—the resident had fallen and was sent to
 8        hospital,
 9                 d.   Brookdale Corona was cited for having insufficient staffing
10        when only 2 staff were present for 3 days on the night shift to monitor 47
11        residents,
12                 e.   Brookdale Northridge was cited for violating the right to
13        sufficient staffing when facility staff waited 6 hours before calling 911 after a
14        resident fell and fractured hip,
15                 f.   Brookdale Redwood City was cited for insufficient staffing after
16        leaving a resident who requires toileting assistance on the commode for 1.5
17        hours,
18                 g.   Brookdale Fairfield was cited for failing to sufficiently staff its
19        memory care unit when staff breaks left 1 staff member on the floor
20        responsible for supervising more than 30 residents,
21                 h.   Brookdale Orangevale was cited for failing to ensure sufficient
22        staffing to meet resident needs after a resident developed wounds on
23        buttocks, thighs, and heel due to lack of staff monitoring and assistance, and
24                 i.   Brookdale Palm Springs was cited for failing to provide staff
25        assistance with showering, dressing, and transportation, even though the
26        resident was billed for those services.
27        83.      Failures Indicative of Insufficient Staffing Found by CCL:
28 Furthermore, CCL issued numerous citations to Brookdale for incidents that are

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